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Thyssen and was responsible for authorizing the expenditure of corporate funds used to
pay for multi-million dollar cranes and slitting machines, and the related commissions
paid to a consultant, that were purchased during the construction projects. Defendant
KENNETH J, GRAHAM is no longer employed by Thyssen.

3. Defendant KYLE E. DRESBACH was an executive vice-president at
Thyssen and was responsible for recommending and determining which vendors of multi-
million dollar cranes and slitting machines and which consultants would be awarded
contracts by Thyssen in connection with the construction projects. Defendant KYLE E.
DRESBACH is no longer employed by Thyssen.

4, Jerome Jay Allen was a resident of Bloomficld Hills, Michigan, was an
attorney licensed to practice in the State of Michigan, and was associated with the law
firms of Jerome Jay Allen, P.C. and Allen & Defrain, P.C.

5. In connection with the construction projects, Jerome Jay Allen held himself
out to a third-party vendor and to a consultant, Hurricane Machine, Inc. (“the
consultant”), as an attorncy who represented Thyssen.

6, Jerome Jay Allen, not named a defendant herein, participated as a co-
conspirator in the offense charged herein and performed acts and made statements in

furtherance thereof.
 

 

 

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CONSPIRACY
7. Fromin or about January of 1991 through in or about April of 2001, the
exact dates being unknown to the Grand Jury, in the Eastern District of Michigan and
elsewhere, the defendants,

KENNETH J. GRAIIAM, and
KYLE E. DRESBACH,

together with others known and unknown to the Grand Jury, including Jerome Jay Allen,
a co-conspirator not named as a defendant herein, did unlawfully, willfully, and
knowingly combine, conspire, confederate, and agree together to commit offenses against
the United States, that is:

A. To violate Title 18, United States Code, Section 1341; and

B. To violate Title 26, United States Codes, Section 7206(1).

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8. _ It was a part and an object of the conspiracy that KENNETH J. GRAHAM

and KYLE E, DRESBACH, the defendants, and Jerome Jay Allen, having devised and
intending to devise a scheme and artifice to defraud Thyssen, and for obtaining moncy
and property from Thyssen by means of false and fraudulent pretenses, representations,
and promises, and to deprive Thyssen of its intangible right to the honest services of
KENNETH J. GRAHAM and KYLE E. DRESBACH, unlawfully, willfully, and
knowingly, for the purpose of executing such scheme and artifice, would and did place
and cause to be placed in post offices and authorized depositories for mail matter, matters

and things to be sent and delivered by the Postal Service, and deposit and causc to be
 

 

 

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deposited matters and things to be sent and delivered by private and commercial interstate
carriers, and take and receive therefrom, such matters and things, and knowingly cause to
be dctivered by mail and such carriers according to the directions thercon, and at the place
at which they were directed to be delivered by the persons to whom they were addressed

: such matters and things, in violation of Title 18, United States Code, Section 1341.

9, It was a part and an object of the conspiracy that KENNETH J, GRAHAM

: and KYLE E, DRESBACH, the defendants, and Jerome Jay Allen, would and did

| willfully make and subscribe federal income tax returns, which were filed with the
Internal Revenue Service, which contained and were verified by a written declaration that
said returns were made under the penaltics of perjury, and which KENNETH J.
GRAHAM, KYLE E. DRESBACH and Jerome Jay Allen did not believe to be true and
correct as to every material matter, in violation of Title 26, United States Code, Section

7206(1).

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Among the means by which the defendants and their co-conspirators would and
did carry out the conspiracy were the following:

10. Itwasa part of the conspiracy that KENNETH J. GRAHAM and KYLE E.
DRESBACH, the defendants, devised a scheme to defraud Thyssen by causing Thyssen
to enter into contracts with third-party vendors (“the third-party vendors”) and the
consultant to purchase multi-million dollar cranes and slitting machines at fraudulently
inflated prices and commissions, As a result of the scheme, Thyssen paid higher prices

for the cranes and slitting machines and paid higher commissions than it would have if

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KENNETH J. GRAHAM and KYLE E. DRESBACH had aggressively and honestly
solicited competitive prices from other vendors and consultants,

11. It wasa further part of the conspiracy that KENNETH J. GRAHAM and
KYLE E. DRESBACH, the defendants, would cause the third-party vendors and the
consultant to submit to Thyssen fraudulently inflated invoices for cranes and slitting
machines and commissions.

12. It was a further part of the conspiracy that KENNETH J. GRAHAM and
KYLE E,. DRESBACH, the defendants, would authorize payment of the fraudulently
inflated invoices and cause Thyssen to issue checks to the third-party vendors and to the
consultant,

13. It was a further part of the conspiracy that the fraudulently inflated invoices
submitted by the third-party vendors and the consultant, and corresponding checks issued
by Thyssen in payment of the fraudulently inflated invoices, would be sent via the United
States mail.

14. It was a further part of the conspiracy that KENNETH J. GRAHAM and
KYLE E. DRESBACH, the defendants, would cause the third-party vendors and the
consultant to pay kickbacks to KENNETH J. GRAHAM and KYLE E, DRESBACH
through Hurricane Machine, Inc, (“Hurricane Machine”),

15. ‘It was a further part of the conspiracy that Jerome Jay Allen, in exchange
for a portion of the kickbacks, would launder the kickbacks that were paid through
Hurricane Machine through numerous bank accounts he controlled, including client trust

accounts maintained by his law firms. |

 
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16. It wasa further part of the conspiracy that Jerome Jay Allen would provide
Hurricane Machine with bogus invoices in the names of numerous entities secking
payment for services purportedly rendered, such as “consulting fees” and “advice and
consultation,” when, in fact, no such services had been rendered.

17. It was a farther part of the conspiracy that KENNETH J, GRAHAM and
KYLE E, DRESBACH, the defendants, and Jerome Jay Allen would split the proceeds of
the scheme along fixed percentages, with KENNETH J. GRAHAM entitled to receive
45%, KYLE E, DRESBACH entitled to reccive 40% and Jerome Jay Allen entitled to
received 159%.

18. It was a further part of the conspiracy that Jerome Jay Allen would use his
clicnt trust accounts maintained by his law firms to pay KENNETH J. GRAHAM’s and
KYLE E. DRESBACH's personal expenses for the purpose of concealing from the
Intemal Revenue Service their receipt of taxable income,

19, It was a further part of the conspiracy that Jerome Jay Allen would prepare
false and fraudulent U.S. Individual Income Tax Returns, Forms 1040, for KENNETH J.
GRAHAM and KYLE E, DRESBACH that did not report any of the proceeds of the
scheme as income on their tax returns,

20, Tt was a further part of the conspiracy that KENNETH J. GRAHAM and
KYLE E. DRESBACH, the defendants, would file false and fraudulent U.S. Individual

Income Tax Returns, Forms 1040, with the Internal Revenue Service,

 
 

 

  
 

 

 

  

OVERT ACTS

In furtherance of the conspiracy and in order to accomplish its objectives within
the Eastern District of Michigan and elsewhere, the defendants and their co-conspirators
committed and caused to be committed overt acts, including the following:

21, On numerous occasions, the third-party vendors and the consultant sent
invoices to Thyssen through the mails.

22. On numerous occasions, Thyssen sent checks through the mails to pay the
invoices submitted by the third-party vendors and the consultant,

23. Onnumerous occasions, Jerome Jay Allen caused Hurricane Machine to
issuc checks, totaling approximately $6.5 million, payable to numerous entities controlled
by Jerome Jay Allen, including T.1.A.T.S,, Ltd., Drummond Consultants, Inc., Cayee
Company, PJD Enterprises, Ltd., Jerome J, Allen, P.C., Statewide, Inc., All Invest, Inc.,
High Meadow Consultants, Troy Consultants, Inc., How Great Consultants, Premicr
Consultants, HGTA Consultants and Premier Management Service.

24-58. On or about the dates listed below, Jerome Jay Allen issued and

signed the following checks:

Par, Number Rate Payee mou

24, 2-05-96 Leslie Cottrill $25,000.00
25. 3-20-96 Patrice Construction $20,000.00
26. §-10-96 Wissel Construction $25,000.00
27. 5-22-96 Jackson State Bank $20,000.00
28. 6-05-96 Northern Michigan Title $33,000.00
29. 8-19-96 Britt Marie Graham $22,000.00
30. 8-23-96 Chubb $11,381.00
31. 10-20-96 Rood Landscape $18,412.00
32, 10-29-96 Chelsea Antiques $15,929.68

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51.
52,
53,
54,
55.
56.
57.
58,

59-64,

10-31-96
11-12-96
11-29-96
1-17-97
4-14-97
3-21-97
7-10-97
9-12-97
11-12-97
12-15-97
12-31-97
2-06-98
2-06-98
2-18-98
5-08-98
5-18-98
3-25-98
6-02-98
7-15-98 |
7-22-98
7-30-98
8-03-98
8-25-98
8-27-98
10-28-98
11-17-98

Kennico Construction
Evola Music

Kennico Construction
Britt Marie Graham
Kennico Construction
Connors Antiques
Wissel Construction
Kennico Construction
Rose Chryster Plymouth
Braman Motors
Kennico Construction
American Exercise
Wissel Construction
Kennico Construction
Wissel Construction
Britt Maric Graham
Britt Marie Graham
Kennico Construction
Columbus & Cook
Britt Maric Graham
Kennico Construction
Britt Marie Graham
Britt Maric Graham
Wissel Construction
Clemens, Bailing, Schaub
Braman Motorcars

$15,000.00
$30,900.00
$50,000.00
$25,000.00
$18,000.00
$10,000.00,
$22,347.83
$30,897.00
$26,044.00
$31,000.00
$28,000.00
$20,908.76
$13,109.54
$52,000.00
$16,203.81
530,000.00
$20,000.00
$25,000.00
$14,380.80
$25,000.00
$29,500.00
$25,000.00
$45,000.00
$14,786.07
$11,635.00
$59,567.93

On or about the dates listed below, Jcrome Jay Allen signed the

following U.S. Individual Tax Returns, Forms 1040, as the paid preparer:

Taxpayer Tax Year

‘Par, Number

39,
60,
61,
62.
63.
64,

Rate

4-15-97
4-22-97
3-10-98
4-30-98
4-11-99
4-13-99

Kenneth J. Graham
Kyle E, Dresbach
Kenneth J, Graham
Kyle E, Dresbach
Kenneth J, Graham
Kyle E. Dresbach

‘All in violation of Title 18, United States Code, Section 371.

1996
1996
1997
1997
1998
1998
 

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COUNT TWO
(18 U.S.C. § 1956(h) - Conspiracy to Commit Money Laundering)

D-1 KENNETH J. GRAHAM
D-2 KYLE E. DRESBACH

65. Paragraphs 1-6 Count One are realleged and reincorporated herein,
66. Paragraphs 10-16 Count One are realleged and reincorporated herein,
67, From in or about January of 1991 through in or about July of 2000, the
exact dates being unknown to the Grand Jury, in the Eastern District of Michigan and
! elsewhere, the defendants, KENNETH J. GRAHAM and KYLE E. DRESBACH,
| together with Jerome Jay Allen, a co-conspirator not named as a defendant herein, did
: knowingly, intentionally and unlawfully combine, conspire, confederate, and agree to
commit offenses against the United States, that is, to knowingly conduct and attempt to
conduct financial transactions affecting interstate commerce, which transactions involved
the proceeds of specified unlawful activity, that is, mail fraud in violation of Title 18,
United States Code, Section 1341, knowing that the transactions were designed in whole
or in part to conceal and disguise the nature, location, source, ownership, and control of
the proceeds of the specified unlawful activity, and that while conducting and attempting
to conduct such financial transactions, knew that the property involved in the financial
transactions represented the proceeds of some form of unlawful activity, in violation of
Title 18, United States Code, Section 1956(2)(1)(B)(i).

68. It was part of the moncy laundering conspiracy that attorney Jerome J ay
Allen would take proceeds obtained through mail fraud and would deposit such proceeds

into numerous bank accounts, including his clicnt trust accounts, for the purpose of

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concealing the ownership, control and location of such proceeds and for the purpose of
disguising the nature of such proceeds.

69. It was further part of this moncy laundering conspiracy that attorney Jerome
Jay Allen would usc proceeds obtained through mail fraud, which had been laundered
through numerous bank accounts, including his client trust accounts, to pay KENNETH J.
GRAHAM’s and KYLE E, DRESBACH's personal expenses.

70. Paragraphs 24-58 of Count Onc are realleged and reincorporaied hercin.

All in violation of Title 18, United States Code, Section 1956(h).

COUNT THREE
(18 U.S.C. § 1957 - Laundering of Monctary Instruments)

D-2 KYLE E. DRESBACH
That on or about June 2, 1998, in the Eastern District of Michigan, defendant

KYLE E, DRESBACHI did knowingly engage, and did aid, abet, counsel, command,
induce, procure and cause the engaging, in a monetary transaction by, through or to a
financial institution, affecting interstate commerce, in criminally derived property of a
value greater than $10,000, such transaction involving the payment of $25,000 to Kennico
Construction for improvements made to the real estate located at 4659 Linwood Street,
West Bloomfield, Michigan, such property having been derived from a specified unlawful
activity, that is, mail fraud in violation of Tite 18, United States Code, Section 1341.

All in violation of Title 18, United States Codes, Sections 1957 and 2.

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COUNT EOUR
(18 U.S.C. § 1957 - Laundering of Monetary Instruments)

D-2 KYLE E. DRESBACH

That on or about July 30, 1998, in the Eastern District of Michigan, defendant
KYLE E. DRESBACH did knowingly engage, and did aid, abet, counsel, command,
inducc, procure and cause the engaging, in a monetary transaction by, through or to a
financial institution, affecting interstate commerce, in criminally derived property of a
value greater than $10,000, such transaction involving the payment of $29,500 to Kennico
Construction for improvements madc to the real estate located at 4659 Linwood Street,
West Bloomfield, Michigan, such property having been derived from a specified unlawful
activity, that is, mail fraud in violation of Title 18, United States Code, Section 1341,

All in violation of Title 18, United States Codes, Sections 1957 and 2,

VE
(18 U.S.C. § 1957 - Laundering of Monetary Instruments)

D-l KENNETH J. GRAHAM

That on or about August 25, 1998, in the Eastern District of Michigan, defendant
KENNETH J. GRAHAM did knowingly engage, and did aid, abet, counsel, command,
induce, procure and cause the engaging, in 2 monetary transaction by, through or to a
financial institution, affecting interstate commerce, in criminally derived property of a
value greater than $10,000, such transaction involving the payment of $45,000 to Britt-
Marie Graham, such property having been derived from a specified unlawful activity, that
is, mail fraud in violation of Title 18, United States Code, Section 1341.

All in violation of Title 18, United States Cades, Sections 1957 and 2,

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. COUNT STIX
(18 U.S.C, § 1957 - Laundering of Monctary Instruments)

D-1 KENNETH J. GRAHAM

That on or about November 17, 1998, in the Eastern District of Michigan,
defendant KENNETH J. GRAHAM did knowingly engage, and did aid, abet, counsel,
command, induce, procure and cause the engaging, in a monetary transaction by, through
or to a financial institution, affecting interstate commerce, in criminally derived property
of a value greater than $10,000, such transaction involving the payment of $59,567.93 to
Braman Motorcars in connection with the purchase of 1999 Porsche Coupe, such property
having been derived from a specified unlawful activity, that is, mail fraud in violation of
Title 18, United States Code, Section 1341.

Allin violation of Title 18, United States Codes, Sections 1957 and 2.

COUNT SEVEN
(26 U.S.C. § 7206(1) - Subscribing a False Tax Return)

D-l KENNETH J. GRAHAM
That on or about March 10, 1998, in the Eastern District of Michigan, defendant
KENNETH J. GRAHAM, a resident of Bloomficld Hills, Michigan, did willfully make
and subscribe a U.S. Individual Income Tax Return, Form 1040, for calendar year 1997,
which was verified by a written declaration that it was made under the penalties of perjury
and was filed with the Internal Revenue Service, which retum he did not believe to be
truc and correct as to every material matter in that the return reported total income of

$1,105,401 on Line 22, whereas, as he then and there well knew and believed, the return

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did not report of all his total income, and his total income for 1997 was greater than the
amount reported on Line 22,
Allin violation of Title 26, United Statcs Code, Section 7206(1).

COUNT EIGHT
(26 U.S.C, § 7206(1) - Subscribing a False Tax Return)

D-1 KENNETH J. GRAHAM

That on or about April 13, 1999, in the Eastern District of Michigan, defendant
KENNETH J. GRAHAM, a resident of Bloomficld Hills, Michigan, did willfully make
and subscribe a U.S, Individual Income Tax Return, Form 1040, for calendar year 1998,
which was verified by a written declaration that it was made under the penalties of perjury
and was filed with the Internal Revenue Service, which return he did not believe to be
truc and correct as to every material matter in that the return reported total income of
$938,020 on Line 22, whereas, as he then and there well knew and believed, the return
did not report of all his total income, and his total income for 1998 was preater than the
amount reported on Line 22,

All in violation of Title 26, United States Code, Section 7206(1).

COUNT NINE
(26 U.S.C. § 7206(1) - Subscribing a False Tax Return)

D-2 KYLE E. DRESBACH
That on or about April 30, 1998, in the Eastern District of Michigan, defendant
KYLE E. DRESBACH, 2 resident of West Bloomfield, Michigan, did willfully make and

subscribe a U.S. Individual Income Tax Return, Form 1040, for calendar year 1997,

which was verified by a written declaration that it was made under the penalties of perjury

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and was filed with the Internal Revenuc Service, which return he did not believe to be
true and correct as to every material matter in that the return reported total income of
$298,802 on Line 22, whereas, as he then and there well knew and believed, the return
did not report of all his total income, and his total income for 1997 was greater than the
amount reported on Line 22.

Allin violation of Title 26, United States Code, Section 7206(1).

COUNT TEN
(26 U.S.C. § 7206(1) - Subscribing a False Tax Return)

D-2 KYLE E. DRESBACH

That on or about April 13, 1999, in the Eastern District of Michigan, defendant
KYLE E. DRESBACH, a resident of West Bloomfield, Michigan, did willfully make and
subscribe a U.S, Individual Income Tax Return, Form 1040, for calendar year 1998,
which was verified by a written declaration that it was made under the penalties of perjury
and was filed with the Internal Revenue Service, which rcturn he did not belicve to be
truc and correct as to every material matter in that the return reported total income of
$338,991 on Line 22, whereas, as. he then and there well knew and belicved, the return
did not report of all his total income, and his total income for 1998 was greater than the
amount reported on Line 22.

All in violation of Title 26, United States Cade, Section 7206(1).

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ET E T.

D-1 KENNETH J. GRAHAM
D-2 KYLE E, DRESBACH

The allegations of Counts Two, Three, Four, Five and Six are realleged and
' incorporated by reference herein for the purpose of secking forfcitures pursuant to the

provisions of Title 18, United States Code, Section 982,

As a result of the foregoing offenses in violation of Title 18, United States Code,
Sections 1956 and 1957, defendants KENNETH J. GRAHAM and KYLE E.
DRESBACH shall forfeit to the United States any property, real or personal, involved in
such offenses, or any property traceable to such property.

Property subject to forfeiture to the United States pursuant to Title 18, United
States Code, Section 982 includes, but is not limited to, the following:

(1) the real property located at 3305 Windsor Boulevard, Vero Beach, Florida,
32963, being more fully described as:

Parcel 1.D. No, 31-39-15-00001-0080-000020; and
Lot 20; Block 80; Subdivision: Windsor Phase I PD.

(2) the real property located at4659 Linwood, West Bloomficld Township,
Michigan, 48324, being more fully described as:

Tax ILD. No. 1803327011; and

Lots 23 and 24 Zox Lakeside Park subdivision according to the plat thereof
as recorded in Liber 29 of Plats on pages 29 and 29-A, Oakland County
Records,

(3) Anamount of not less that $6,583,072.80 in United States Currency, or
such amount as is proved at trial in this matter, in that such sum in
aggregate was involved in the conspiracy to launder monetary instruments
charged in Count Two of this Indictment, or is traceable thereto.

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If any of the property described above as being subject to forfeiture, as a result of
the act or omission of a defendant:

(a) cannot be located upon the exercise of duc diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(c) has becn commingled with other property which cannot be divided without

difficulty; it is the intent of the United States, pursuant to 21 U.S.C. §

853(p), as incorporated by 18 U.S.C, § 982(b), to seck to forfeit any other

property of that defendant up to the value of the property listed above,
All in violation of Title 18, United States Code, Section 982.

THIS JS A TRUE BILL.

FOREPERSON

JEFFREY G. COLLINS
United States Attorney

| adbe

OHY E. SULLIVAN
{on B. SUL
t S, Department of Justice
P.O. Box 972, Franklin Station
Washington, D.C. 20044
(202) 514-5150

Dated: & / { b/ 03,

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UNITED STATES DISTRICT COURT

 

 

 

 

 

 

EASTERN DISTRICT OF MICHIGAN AUG 1 2
SOUTHERN DIVISION u sé AK'S OFFICE
- 9. DISTRICT Cou
UNITED STATES OF AMERICA, CASTERN MICHIGAN
Plaintiff,
Criminal No, 03-80504
v. Hon. Hon. Arthur J. Tarnow
D-1 KENNETH J. GRAHAM,
D-2 KYLE EF, DRESBACH,
Defendants.
/
JURY VERDICT FORM
Count One—18 U.S.C. § 371, 18 U.S.C. § 1341, and 26 U.S.C, § 7206(1)}—
Conspiracy to Commit Mall Fraud and/or
WUIful Subscription of False Tax Returns
Check one box for each Defendaut to Indicate the Jury’s unanimous verdlct.
We the Jury find the defendant:
Not Gullty Guilty.
| Kyle E. Dresbach _| | uw ]
We the Jury find the defendant:
Not Guilty Gullty_.
| Kenneth J. Graham | a |
Count Onc—Speclal Interrogatorics
in the Eyent of a Guilty Verdict
h Inthe event you have found one or more of the above Defendants guilty of Count One,
specify the conspiracy’s objective(s) for each such Defendant (check all to which you
unanimously ayree the Government has proven beyond a reasonable doubt, if any):
A. ‘Kenneth J, Graham:

 

vw Mall Fraud—with tho intent to defraud, agreed to cngage in a material schemo or

 
 

 

 

 

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artifice to defraud (check euch to which you unanimously agree, if any):
uz to obtuln moncy or property; and/or

“ 10 deprive Thyssen of its intangible right to the honest services of Kennoth
J. Graham and Kyle E. Dresbach,

by means of material false or fraudulent pretenses, representations, or promises;
and using the United States mails in furtherance of the scheme to dofraud;
and/or

vw Willfully Subscribing a False Return- -agreed to willfully subseribe a tax return
or tax retums that contained materially false information, knowing the
infonnation was false, where the return or returns contained a written declaration
that it was being signed subject to the penaltics of perjury and in filing the false
tax retum, and thereby defraud the United States,

B, Kyle f, Dresbach:

~~ Mail Fraud—with the inient to defraud, agreed to engage in a material scheme or
artifice to defraud (check each to which you unanimously agree, if any):

L~ to obtain money or property; and/or

to deprive Thyssen of its intangible right to the honest services of Kenneth
J. Graham and Kyle E. Dresbach,

by means of material false or fraudulent pretenses, represeniations, or promises;
and using the United States mails in furtherance of the scheme to defraud;
and/or ,

_* Widfully Subscribing a False Return---agreed to willfully subscribe a tax roturn
or tax retums that contained materially false information, knowing the
information was fulse, where the return or returns contained a written declaration
that it was being signed subject to the penalties of perjury and in filing the false
tax retum, and thereby defraud the United States.

IL In the event you have found one or more of the above Defendants guilty of Count One,
specify which overt acts you have unanimously found the Government has proven
beyond 4 reasonable doubt were committed by a conspirator for the purpose of advancing

or helping the conspiracy: SyPec mec wd % Acres as Soeeed pe THE prorat
ber =

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II], In the event you have unanimously found one or more of the above Defendants guilty of
Count One, and, more specifically, of having conspired to commit mail fraud, specify the
amount of financial loss suffered by Thyssen, Inc., N.A., as a reault of the conspiracy, if
any:

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Pager 6s Page tS of 24

 

Count Two—18 U.S.C, § 1956(b}—
Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(a)(1)(B)(i)

Check one box for euch Defendant to indicate the jury’s unanimous verdict.
We the Jury find the defendant:

. Not Guilty Guilty
[Kyle E. Dresbach | | —

We the Jury find the defendant:

Not Guilty Guilty ..
| Kenneth J, Graham | | aa

Count Two—Speclal Interrogatories
{n the Event of a Guilty Verdict

1. In the event you have found one or more of the above Defendants guilly of Count Two,
specify which overt acts you have unanimously found the Government haa proven
beyond a rensonable doubt were committed by a conspirator for the purpose of advancing

or helping the conspiracy: ”
Trene Cabirerne cet,

Peer tT tay sk Fer eur Rt wry Gatien k As era pA THE Aad ech BAT
7 . é Y.
op pra ¢, YO-ST ack Gt al
Il. In the event you have unanimously found one or more of the above Defendants guilty of
Count Two, specify the amount of funds laundered, if any:

¢ GS mibdien

Count Three-—-18 U.S.C. § 1957—.
Launderlag of Monetary Instruments
Check one box to indicate the jury’s unanimous verdict,
We the Jury find the defendant:

. Not Guilty Gullty_
| Kyle E. Dresbach | | ae |
 

 

 

V-71030-AJ1-sDP ECF NO. 1-2 ied 037r6705s PaypeiD- 70 Page 20 of 24

  

Count Four—18 U.S.C. § 1957—
Laundoring of Monctary Instruments

Check one box to Indicate the jury’s unanimous verdict.

We the Jury find the defendant:

. Not Guilty Guilty
| Kyle E. Dresbuch | I. ae

 

Count Flve—18 U.S.C, § 1957—
Laundering of Monetary Instruments
Check one box to indicate the Jury’s unanimous verdict.

We the Jury find the defendant:

Not Gullty Gullty |
| Kenneth J. Graham _| | a

Laundering of Monetary Instruments

Check one box to indicate the jury’s unanimous verdict.

We the Jury find the defendant:

 

Not Guilty Guilty |
[Kenneth J. Graham _| | bs

 

 
 

 

- -SDP ECF No. 1-2 filed 03/16/05 PagelD.71 Page 21 of 24

 

Count Seven—26 U.S.C, § 7206(1}—
Willful Subscription of a False Tax Return

Check onc box to indlcate the jury’s unanimous verdict.
Woe the Jury find the defendant:

Not Guilty Gullty
| Kenneth J. Graham | a |

Count Eight—26 U.S.C, § 7206(1)}—
‘Wiliful Subscription of a False Tax Return

Check one hox to indicate the jury’s unanimous verdict.

We the Jury find the defendant:

Not Gullty Guilty,
| Kenneth J. Graham | ; | a |

Count Nine—26 U.S.C. § 7206(1)—
Willful Subscription of a False Tax Return

Check one box to Indicate the jury’s unanimous verdict.

We the Jury find the defendant:

Not Gullty _ Gullty.
| Kyle 6, Dresbach | A — |

 

 

 
 

  
  

    
   
     
   
     

 

V-71033-AJT-SDP_ ECF NO. 1-2 Med UsriIo/0s”_PagelD. 72 Page 22 uf 24

Count Ten—26 U.S.C. § 7206{1)—
Willful Subscription of a False Tax Return

Check one box to indicate the Jury’s unanimous verdlct,

We tho Jury find the defendant;

Not Guilty Gullty
| Kyle E, Dresbach | | i

 

Dated: Chas gaat |. 00 ¥ Fh... 61 ¢ Ne Lu

Foreperson

   

 

 
   
    

1 (a) PLAINTIFFS

(b) County of Residence of First Listed Oakland, Michigan

FRCS ICS NET SIOP ufc

B14 civil cover sheet and the information contained herein neither replace nor supplament the fi
fourt, This form, approved by tha Judicial Conferanca of tha United States In September 1974, Is

THYSSENKRUPP MATERIALS N.A,, INC., a Delaware corporation,

    

 

 

 

3416/95 O52 764 Ys =

Gand service of pleadings or ather papers as required by law, except as provided by local rules

required for the use of the Clerk of Court for tha purpose of Initiating the clvil docket sheet,

DEFENDANTS

KYLE DRESBACH, an individual

County of Residence of First Listed Oaktand, Michigan
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number)
BARRIS, SOTT, DENN & DRIKER, P.L.L.C.
211 West Fort St., 15" Floor
Detroit, MI 48226 (313) 965-S725~

 

Attorneys (If Known) DENISE PAGE HU pe
.re

Magistrate Judae Steven

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Overpayment & Slander O 368 Asbestos Qs 630 Liquor Laws O 620 Copyrighis D460 Depottation
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G 151 Medicare Act Liability PERSONAL PROPERTY| 0 660 Occupalional SOCIAL SECURITY Organizations
Mo 152 Recovery of Defaulted] O 240 Marine O 370 Other Fraud Safaty/ Health BD 861 HIA (1395(1) O 810 Selective Service
Student Loans G 345 Marine Product §=O 371 TruthinLending | O__ 690 Other BD B62 Black Lung (923) O 850 Securities/Commodities
153 Recovery of Liability O 380 Other Personal LABOR O 863 DIWC/DIWW / Exchange
Overpayment of QO 350 Motor Vehicle Property Damage) Ol 740 Fair Labor (405(g)) O 875 Customer Challenge
Veteran's Banofits 0 355 Motor Vehicle O 385 Property Damage Standards Act Cl 864 SSID Title XV! 12 USC 3410
O 180 Stockholders’ Suits Product Liabitity Product Liability |g 720 Labor/Mgmt. O 865 RSI (405 QO 691 Agricultural Acts
CG 190 Other Contract 360 Other Personal Relations FEDERAL TAX SUITS { 892 Economic Stabilization
G 195 Contract Product Injury PRISONER PETITIONS | M 730 Labor/Mgmt. oe Act
Liability CIVIL RIGHTS Of 510 Motions to Reporting & o 470 praetor O 893 Environmental Matters
441 Voting Vacate Sentence Disclosure Act D. efendant O 804 Energy Allocation Act
REAL PROPERTY O 442 Employment Habeas Corpus: | 740 RallwayLabor Act | q 474 IRS — Third Party C1 895 Freedom of Information
O 210 Land Condemnation | GO 443 Housing! O 5630 General O 796 Other Labor 28 USC 7809 Act
O 220 Foreclosure DO 535 Death Litigation _* O 900 Appeal of Fea
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. CAUSE OF ACTION (Cita the U.S, Clvil Statute under Which You Are Filing and Write a Brief Statement of Cause,

This sult seeks to recover losses suffered by plalntlff as

Vil REQUESTED IN

COMPLAINT:

Do Not Cite Jurisdictlonal Statute ibe" ‘ co
PUSSIBLE COMPAMION-GCAG Fons
lament, breach of fiduciary duty, fraud, conspiracy, racketeering, and consplracy to comm ‘

alleges that defendant engaged In conversion, embezz!
racketeering. Plaintiffs substantive federal claims arise out of the Racketeer Influenced and Corrupt Organizations Act (18 U.S.C. § 1962) and the following
federal predicate statutes (18 U.S.C. §§ 1341, 1343, 1956, and 1957 ).

CHECK IF THIS IS A CLASS ACTION
O UNDER F.R.C.P. 23

DEMAND: An amount In

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excess of $6,500,000.

 

 

Vill, RELATED CASE(S) (See Instructions):

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JUDGE Arthur J. Tarnow,

 

 

 

 

 

IFANY  Oresbach v Thyssenkrupp Materials N.A., DOCKET NUMBER _03-cv-72405-AJT;
ine. Arthur J. Tarnow 03-cr-80504-AJT;
U.S, v, Graham & Dresbach Arthur J, Tarnow Q3-cr-80578-AJT; and
U.S. v. Allon Arthur J, Tarnow 03-cv-73488-AJT
Graham v. ThyssenKrupp Materials N.A,, Inc. .
DATE
March 16, 2005

 

aa Pa
SIGNATURE OF ATTORNEY OF recess (VM, >)
—_

 
  
 

 

PURSUANT TO LOCAL RULE 83.11

Is this a case that has been previously discontinued or dismissed?

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Other than stated above, are there any pending or previously discontinued or dismissed
companion cases in this or any other court, including state court? (Companion cases are
matters in which it appears substantially similar evidence will be offered or the same or related
parties are present and the cases arise out of the same transaction or occurrence.)

If yes, give the following information:

Court: _US District Court for the Eastern District of Michigan
Case No.:_03-cv-72405-AJT

Judge:_Arthur J. Tarnow

Court: _US District Court for the Eastern District of Michigan
Case No.:_03-cr-80504-AJT

Judge: Arthur J. Tarnow

Court: US District Court for the Eastern District of Michigan
Case No,:_03-cr-80578-AJT

Judge: Arthur J. Tarnow

Court: .US District Court for the Eastern District of Michigan
Case No,:_03-cv-73488-AJT

Judge: Arthur J. Tarnow

Notes:

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ase 2:05-cv-71033-AJT-SDP ECF No. 1-2 filed 03/16/05 PagelD.74 Page 24 of 24

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